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                                                                             United States District Court
                                                                               Southern District of Texas
                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            ENTERED
                           BROWNSVILLE DIVISION                                   June 05, 2018
                                                                               David J. Bradley, Clerk

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:18−po−01463
                                                    Magistrate Judge Ronald G Morgan

Celestino Gonzalez−Hernandez
                                       Defendant



                                       JUDGMENT


       On 6/5/18, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 6/5/18.
